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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION


      IN RE:                                        )      CHAPTER 11
                                                    )
                                                    )      CASE NO. 15-30657-KRH
      TAYLOR TRANSPORTATION, INC.,                  )
                                                    )
                       Debtor in Possession         )



                                 NOTICE OF MOTION and HEARING

              Please be advised that Taylor Transportation, Inc., by its undersigned counsel, has
      filed a Motion for Extension Under 11 U.S.C. §1129(e), and a Motion for Expedited
      Hearing ("Motions") to be heard at the date and time listed below.

      Your rights may be affected. You should read these papers carefully and discuss
      them with your attorney, if you have one in this bankruptcy case. (If you do not
      have an attorney, you may wish to consult one.)

       If you do not wish the Court to grant the relief sought in the motion, or if you want the
      Court to consider your views on the motion, then within fourteen (14) days from the date
      of service of this motion, you must file a written response explaining your position with
      the court at the following address: Clerk of Court, United States Bankruptcy Court,
      701 East Broad Street, Room 4000, Richmond, VA 23219-3515, and serve a copy on
      the movant’s attorney at the address shown below. Unless a written response is filed and
      served within this fourteen day period, the Court may deem opposition waived, threat the
      motion as conceded, and issue an order granting the requested relief.

      If you mail your response to the Court for filing, you must mail it early enough so that the
      Court will receive it on or before the expiration of the fourteen-day period.




      Robert B. Easterling, VSB #15552
      2217 Princess Anne Street, Suite 100-2
      Fredericksburg, VA 22401-3359
      (540) 373-5030
      (540) 373-5234 facsimile
      eastlaw@easterlinglaw.com
      Counsel for Debtor
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       Attend the preliminary hearing scheduled to be held on October 21, 2015 at 12:30 p.m.,
      in the Courtroom, Room 5000, United States Bankruptcy Court, 701 East Broad
      Street, Richmond, Virginia.

      A copy of any written response must be mailed to the following persons:

                            Robert B. Easterling
                            2217 Princess Anne St #100-2
                            Fredericksburg, VA 22401-3359

                            Judy A. Robbins, U. S. Trustee
                            Office of the U.S.Trustee - Region 4 R
                            701 E. Broad Street, Suite 4304
                            Richmond, Virginia 23219

             If you or your attorney do not take these steps, the Court may decide that you do
      not oppose the relief sought in the Motion and may enter an order granting the relief
      requested without holding a hearing.

                                            Respectfully submitted,

      Date: October 16, 2015                Taylor Transportation, Inc.


                                     BY: /s/Robert B. Easterling       _
                                         Robert B. Easterling, Of Counsel


      /s/Robert B. Easterling_________
      Robert B. Easterling, VSB #15552
      2217 Princess Anne St., Suite 100-2
      Fredericksburg, VA 22401-3359
      540-373-5030
      540-373-5234 facsimile
      eastlaw@easterlinglaw.com
      Counsel for Debtor


                                   CERTIFICATE OF MAILING

             The undersigned does hereby certify that a true copy of this Notice of Motion and
      Hearing was served upon each party required to receive notice under Local Bankruptcy
      Rule 4001(a)-1(E)(1) on October 16, 2015, by electronic service or by first class mail,
      postage prepaid, to all creditors and parties in interest as shown on the attached matrix.

                                                   /s/ Robert B. Easterling
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Judy A. Robbins                                     Document           Page 3 of 4
                                               Commercial Credit Group Inc.          Premier Trailer Leasing, Inc.
Office of the U.S. Trustee - Region 4 -R       c/o Steven L. Higgs, P.C.                      c/o Roy M. Terry, Jr. Sands Anderson PC
701 E. Broad Street, Suite 4304                9 Franklin Road, SW                            P. O. Box 1998
Richmond, VA 23219-1849                        Roanoke, VA 24011-2403                         Richmond, VA 23218-1998


Rush Enterprises, Inc.                         Taylor Transportation, Inc.                    Ernest T. Fisher, Jr.
c/o Roy M. Terry, Jr. Sands Anderson PC        92 Le Way Dr.                                  92 Le Way Dr.
P. O. Box 1998                                 Fredericksburg, VA 22406-1030                  Fredericksburg, VA 22406-1030
Richmond, VA 23218-1998


ARCET Equipment Company                        American Home Assurance Co, Granite State et   (p)BB AND T
P.O. Box 26269                                 American International Group, Inc.             PO BOX 1847
Richmond, VA 23260-6269                        Michelle A. Levitt, Authorized Represent       WILSON NC 27894-1847
                                               175 Water Street, 15th Floor
                                               New York, NY 10038-4918

Bowman Sales & Equipment                       Bowman Sales & Equipment, Inc.                 CSNK Working Capital Finance Corp dba Bay Vi
P.O. Box 433                                   dba Bowman Trailer Leasing                     ATTN: Glen Shu, President
Williamsport, MD 21795-0433                    Thomas O. Britner                              2933 Bunker Hill Lane, #210
                                               10228 Governor Lane Blvd. Suite: 3004          Santa Clara, CA 95054-1152
                                               Williamsport, MD 21795-4064

Chesapeake Petroleum                           Cintas                                         Comdata, Inc
16821 Oakmont Avenue                           P.O. Box 630803                                5301 Maryland Way
Gaithersburg, MD 20877-4109                    Cincinnati, OH 45263-0803                      Brentwood, TN 37027-5028



Commercial Credit Corporation                  Commercial Credit Group, Inc.                  County of Spotsylvania
227 W Trade Street, Suite 1450                 c/o Steven L. Higgs, P.C.                      Spotsylvania County Treasurer’s Off
Charlotte, NC 28202-2664                       9 Franklin Road, SW                            PO Box 100
                                               Roanoke, Virginia 24011-2403                   Spotsylvania, VA 22553-0100


D.C. Treasurer                                 De Lage Landen                                 De Lage Landen Financial Services
P.O. Box 2014                                  1111 Old Eagle School Rd                       1111 Old Eagle School Rd
Washington, D.C. 20013-2014                    Wayne, PA 19087-1453                           Wayne, PA 19087-1453



DeLage Landen Financial Services, Inc.         DelDOT                                         DelDOT
P.O. Box 41602                                 119 Lower Beech Street, #100                   c/o Law Enforcement Systems, LLC
Philadelphia, PA 19101-1602                    Wilmington, DE 19805-4440                      P.O. Box 2182
                                                                                              Milwaukee, WI 53201-2182


East Coast/MAPCO                               Elizabeth River Crossing Tunnel                Homeland Trucking, LLC
626 Warrenton Road                             152 Tunnel Facility Drive                      11765 Capital Lane
Fredericksburg, VA 22406-1028                  Portsmouth, VA 23707-1802                      Fredericksburg, VA 22408-7325


Internal Revenue Service                       John Deere                                     John Deere Financial, f.s.b.
P.O. Box 7346                                  P.O. Box 4450                                  6400 NW 86th St
Philadelphia, PA 19101-7346                    Carol Stream, IL 60197-4450                    PO BOX 6600
                                                                                              Johnston, IA 50131-6600
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Maryland Transportation Authority                     Document           PageINc.
                                                 Multimedia Sales & Marketing, 4 of 4  NJ EZPass Turnpike
P.O. Box 17600                                   P.O. Box 5065                              P.O. Box 52005
Baltimore, MD 21297-1600                         Buffalo Grove, IL 60089-5065               Newark, Nj 07101-8205



New York State Dept. of Taxation & Finance       New York State Dept. of Taxation and Fin   Pennsylvania Turnpike Commission
Bankruptcy Section                               P.O. Box 4127                              P.O. Box 67676
P.O. Box 5300                                    Binghamton, NY 13902-4127                  Harrisburg, PA 17106-7676
Albany, NY 12205-0300


Premier Leasing                                  Premier Trailer Leasing                    Premier Trailer Leasing
P.O. Box 644859                                  3600 William D Tate Ave                    3600 William D Tate Ave
Pittsburgh, PA 15264-4859                        Suite 300                                  Suite 300
                                                 Grapevine, TX 76051-8722                   Grapevine, Texas 76051-8722


Professional Account Management, LLC             Quarles Petroleum Inc.                     Quarles Petroleum Inc. t/a Quarles
P.O. Box 37038                                   1701 Fall Hill Avenue, #300                Fleet Fueling
Washington, D.C. 20013-7038                      Fredericksburg, VA 22401-3565              Attn: Lynn Sale
                                                                                            1701 Fall Hill Avenue
                                                                                            Fredericksburg, VA 22401-3571

Rush Truck Center                                Southern States                            Southern States
3400 Lee Hill Drive                              11324 Tidewater Trail                      c/o Complete Payment Recovery Services
Fredericksburg, VA 22408-7328                    Fredericksburg, VA 22408-2037              3500 5th Street
                                                                                            Northport, AL 35476-4723


Southern States Cooperative, Inc.                Spotsylvania County                        Sprint
Chad Rinard, Esq.                                Treasurer’s Office                         KSOPHT0101-Z4300
Whieford, Taylor & Preston                       P.O. Box 100                               6391 Sprint Parkway
3190 Fiarview Park Drive, Suite 300              Spotsylvania, VA 22553-0100                Overland Park, KS 66251-4300
Falls Church, VA 22042-4559

(p)SPRINT NEXTEL CORRESPONDENCE                  Sprint Correspondence                      State Farm Mutual Auto Insurance Company
ATTN BANKRUPTCY DEPT                             Attn Bankruptcy Dept                       c/o Weltman, Weinberg & Reis Co,LPA
PO BOX 7949                                      PO Box 7949                                965 Keynote Circle
OVERLAND PARK KS 66207-0949                      Overland Park KS 66207-0949                Brooklyn Heights, OH 44131-1829


Tire Tread Service, Inc.                         UPS                                        UPS
311 Bridgewater Street                           P.O. Box 7247-0244                         c/o Receivables Management Services
Fredericksburg, VA 22401-3301                    Philadelphia, PA 19170-0001                7206 Hull Street Road, #211
                                                                                            Richmond, VA 23235-5826


US Attorney                                      Vantassel Towing & Recovery LLC
600 East Main Street, Suite 1800                 26561 NYS Rt. 37
Richmond, VA 23219-2430                          Watertown, NY 13601-5789
